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 8
 9                        UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11
12    MIGUEL GUTIERREZ,           ) Case No. 2:19-cv-07077-FWS-AFM
                                  )
13                 Plaintiffs,    )
                                  ) [PROPOSED] JUDGMENT
14    v.                          )
                                  )
15    NEW HOPE HARVESTING, LLC; ) Hon. Judge Fred W. Slaughter
      GUADALUPE GASPAR;           )
16    EUGENIA GASPAR MARTINEZ; )
      ARACELI GASPAR GASPAR       )
17    MARTINEZ; and JDB PRO, INC. )
      d/b/a CENTRAL WEST          )
18    PRODUCE, Inclusive,         )
                                  )
19                 Defendants.    )
20
21
22          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
23          The Cross-Motions for Summary Judgment (“the Motion”) filed by
24    Plaintiff Miguel Gutierrez (“Plaintiff”) and Defendant JDB Pro, Inc. d/b/a
25    Central West Produce (“Defendant”) were taken under submission on August 8,
26    2022 by the Honorable Fred W. Slaughter. After full consideration of the papers,
27    evidence, and authorities submitted by the parties, as well as the briefs and any
28    other information in the Court’s files and/or filed with the Court in connection
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 1    with the Motion, this Court issued an order GRANTING summary judgment for
 2    Defendant on each of Plaintiff and the Putative Class’s theories of employer
 3    liability, and DENYING Plaintiff’s Cross-Motion. Accordingly, the Court finds
 4    that Defendant is entitled to judgment as a matter of law on all causes of action
 5    and claims asserted against it in this action.
 6          BASED ON THE FOREGOING, IT IS HEREBY ORDERED,
 7    ADJUDGED, AND DECREED that Plaintiff and the Putative Class shall take
 8    nothing by way of the operative complaint and judgment shall be and hereby is
 9    entered in Defendant’s favor as to all causes of action and claims asserted against
10    it in this action. It is further ordered, adjudged, and decreed that Defendant is the
11    prevailing party and shall be entitled to recover costs pursuant to Rule 54 of the
12    Federal Rules of Civil Procedure and Central District Local Rule 54-1, et seq.
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16    DATED:____________________              By:      ___________________________
                                                       Hon. Fred W. Slaughter
17                                                     United States District Court Judge
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